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                                   Exhibit O

              ESTIMATION OF GENERAL UNSECURED CLAIMS POOL
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                                                         Estimated Value     Adjusted    Estimated Value
                                                              (Low)      Estimated Value      (High)
# Category                           Asserted Amount      Claim Amount    Claim Amount    Claim Amount
   General Unsecured Claims
 1 PPOA                                  2,779,645,677       65,613,535     462,289,328     858,965,120
 2 Master Claim ‐ UTIER Damages          1,205,492,250              ‐               ‐               ‐
 3 Master Claim ‐ UTIER Grievances       1,124,524,226      193,879,148     229,129,148     264,379,148
 4 Litigation (w/o Vitol)                  543,590,333        8,575,646      27,244,485      45,913,324
 5 UITICE Litigation                       224,900,000              ‐        11,245,000      224,900,000
 6 Employee                                 14,834,448        2,595,909       8,715,179       14,834,448
 7 Contract                                 12,074,869       12,074,869      12,074,869       12,074,869
 8 Judgment/Settlement                       6,850,955        6,850,955       6,850,955        6,850,955
 9 UITICE Arbitration Awards                 5,673,022        5,673,022       5,673,022        5,673,022
10 Trade                                     5,538,878        5,538,878       5,538,878        5,538,878
11 Master Claim ‐ UEPI                       3,711,794        3,711,794       3,711,794        3,711,794
12 Lease                                       530,128          530,128         530,128          530,128
   Total General Unsecured Claims        5,927,366,580      305,043,885     773,002,786    1,443,371,686
